Case 1:21-cv-00760-PLM-PJG ECF No.1, PagelD.1 Filed 08/30/21 Page 1 of 8

Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)

FILED -GR
UNITED STATES DISTRICT COURT august 30, 2021 2:01 PM

CLERK OF COURT

for the U.S. DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN
Western District of Michigan ByuMw SCANNED By: JW $3!
SOUTHERN DIVISION

1:21-cv-760
Case No. Paul L. Maloney
United States District Judge ~—

CASSADAY, KEVIN W. *9178 - PRO SE

 

to bi

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Jury Trial: (check one) [V] Yes []No

MICHIGAN REPUBLICAN PARTY - RONALD WEISER
THE REPUBLICAN NATIONAL COMMITTEE /
GOP PARTY - RONNA McDANIEL

 

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

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COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Non-Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor’s initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk’s Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

I. The Parties to This Complaint

A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.

Name
Address

County
Telephone Number
E-Mail Address

B. The Defendant(s)

 

 

KEVIN WILLIAM CASSADAY

1804 GUENTHER AVE

LANSING MI 48917
City State Zip Code

EATON

989-615-7096

KWCASSADAY@YAHOO.COM - PREFERED

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person’s job or title (if known) and check whether you are bringing this complaint against
them in their individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

BoTH

Defendant No. 2
Name
Job or Title (if known)
Address

County
Telephone Number
E-Mail Address (if known)

Bott

MICHIGAN REPUBLICAN PARTY
RONALD WEISER - CHAIRPERSON
520 N. SEYMOUR ST

LANSING MI 48909
City State Zip Code

 

 

 

 

 

 

 

Individual capacity Official capacity

THE REPUBLICAN NATIONAL COMMITTEE / "GOP" PARTY
RONNA McDANIEL - CHAIRPERSON

 

 

 

 

310 FIRST STREET SE 7
WASHINGTON DC 20003
< City State Zip Code

 

 

Individual capacity Official capacity

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Pro Se 15 (Rev. 12/16) Complaint for Vioiation of Civil Rights (Non—Prisoner)

i.

Defendant No. 3

 

 

 

Name MITCH McCONNELL
Job or Title (if known) SENATE MINORITY LEADER
Address 317 RUSSELL SENATE OFFICE BUILDING —_
WASHINGTON DC 20510
City State Zip Code
County
Telephone Number 202-224-2541
E-Mail Address (if known)

 

ROTH A Individual capacity Official capacity

Defendant No. 4

 

 

 

 

Name KEVIN McCARTHY
Job or Title (i known) HOUSE MINORITY LEADER
Adina 2468 RAYBURN HOUSE OFFICE BUILDING
WASHINGTON DC 20515 -
City State Zip Code
County ~— —
Telephone Number 202-225-2915

 

E-Mail Address (if known)

Bory IX Individual capacity Official capacity

 

 

Basis for Jurisdiction

Under 42 U.S.C. § 1983, you may sue state or local officials for the “deprivation of any rights, privileges, or
immunities secured by the Constitution and [federal laws].” Under Bivens v. Six Unknown Named Agents of
Federal Bureau of Narcotics, 403 U.S. 388 (1971), you may sue federal officials for the violation of certain
constitutional rights.

A.

Are you bringing suit against (check all that apply):
Federal officials (a Bivens claim)

State or local officials (a § 1983 claim)

Section 1983 allows claims alleging the “deprivation of any rights, privileges, or immunities secured by
the Constitution and [federal laws].” 42 U.S.C. § 1983. If you are suing under section 1983, what
federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?

18 U.S. CODE SECTION 1091 - GENOCIDE; 21 U.S. CODE SECTION 848 - CRIMINAL ENTPRISE

42 U.S. CODE SECTION 3617 - COERCION, INTIMIDATION

MICHIGAN CONSTITUTION OF 1963 ARTICLE 1 SECTION 1, 2, 4, 7, 9, 22, 23, 26

18 U.S. CODE SECTION 1113 - ATTEMPT TO COMMIT MURDER OR MANSLAUGHTER

418 U.S. CODE CHAPTER 1138 - TERRORISM g

Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
officials?

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ADDITIONAL PAGE
B. THE DEFENDANT’
5. TED CRUZ
167 RUSSELL SENATE OFFICE BLDG
127A
WASHINGTON, DC 20510

6. RAND PAUL
167 RUSSELL SENATE OFFICE BUILDING
WASHINGTON, DC 20510

7. LINDSEY GRAHAM
290 RUSSELL SENATE OFFICE BUILDING
WASHINGTON, DC 20510

THE ABOVE SUBJECTS ARE KNOWN TO BE INVOLVED, PLUS MANY
MORE UNKNOWN SUBJECTS
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Pro Se 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non—Prisoner)

TI.

RETALIATION

WHISLEBLOWERS PROTECTIONS
DEPRIVATION OF RIGHTS
OPPRESSION

Section 1983 allows defendants to be found liable only when they have acted “under color of any

statute, ordinance, regulation, custom, or usage, of any State or Territory or the District of Columbia.”

42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color

of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
federal law. Attach additional pages if needed.

42 U.S. CODE SECTION 1983 - DEPRIVATION OF RIGHTS

21 U.S. CODE SECTION 848 - CRIMINAL ENTERPRISE

42 U.S. CODE SECTION 3617 - COERCION, INTIMIDATION

18 U.S. CODE CHAPTER 113B - TERRORISM

18 U.S. CODE SECTION 201 - BRIBERY OF PUBLIC OFFICIALS g

Statement of Claim

State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
statement of each claim in a separate paragraph. Attach additional pages if needed.

A.

Where did the events giving rise to your claim(s) occur?
PLAINTIFF'S LIFE, HE IS NATIVE

 

What date and approximate time did the events giving rise to your claim(s) occur?

CONTINUAL SINCE 2014
INTO 2021
STARTED EVEN BEFORE 2014

 

What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

MR. CASSADAY HAS BEEN ABUSED BY WHAT PURPORTEDLY SEEMS TO BE MOSTLY RIGHT
WINGED RADICALS IN WHICH THIS COVID-19 WAS ORCHESTRATED WITH GAIN OF FUNCTION
IN MIND ENACTED BACK IN 2017 BY SOME DEMENTED LEGESLATORS WHO KNEW WHAT
THEY WERE SETTING IN MOTION, A GENOCIDE ON MINORITIES, TARGETING MR. CASSADAY
AS HE HAS KNOWLEDGE FOR MOST IF NOT ALL OF THE CRIMES COMMITTED.

THE GOP iS FULL OF RACISTS, MAYBE THE WORLD iS BUT THE RADICALS WHO ARE
MURDERING THORUGH THE SYSTEM ARE REPUBLICANS, BLAMING DEMOCRATS. THEY ARE
TRYING TO PROVOKE A WAR TO COVER THEIR TRAILS, AFGANISTAN.. CUBA.. ASIANS..
JUNETEENTH!! NATIVES ARE STILL ENSLAVED HERE IN AMERICA, THEIR HEALTHCARE HAS
BEEN HIGHJACKED BY OTHERS TRAINED TO CALCULATE THEIR LIFE FOR GOVERNMENT.
THIS IS ALL AN ILLUSION OF THE GOP WE ARE ALL VICTIM TOO, THEY WAGED WAR ON US.
McCONNELL & HIS WIFE ARE INSIDER TRADERS, IN WHICH HIS WIFE A "FOREIGN" SET UP
"WORKHORSE' WITH HER FAMILY TO-BILK- AMERICA DRY-OF-FHE-HARD WORKERS MONEY....-&

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IV.

Injuries

If you sustained injuries related to the events alleged above, describe your injuries and state what medical
treatment, if any, you required and did or did not receive.

EMOTIONAL DISRESS

ACT OF TERRORISM
SLANDER

TORTURE

ABUSE

NEGLECT

WRONGFUL IMPRISONMENT
POISON

ACTS OF WAR ON HUMANITY
DOUBLE STANDARD
HYPOCRICY

GENOCIDE

 

Relief

State briefly what you want the court to do for you. Make no legal arguments. Do not cite any cases or statutes.
If requesting money damages, include the amounts of any actual damages and/or punitive damages claimed for
the acts alleged. Explain the basis for these claims.

ACCOUNTABILITY TO THE FULLEST ALLOWABLE
MONETARY TO FULLEST ALLOWABLE, IN EXCESS OF $75,000

DAMAGES SHOULD BE THE DIVESTITURE OF DEFENDANT'S ASSETS & FINANCIAL GAINS FROM
CRIMINAL ACTIVITY, PROCEEDS TO BE TURNED OVER TO PLAINTIFF, THEY HAVE TOO MUCH...

SOME DEF. HAVE ALREADY DIVESTED OR DONATED IN EXPECTATION OF THESE CLAIMS.
MCL 750.5 FOR ALL ABUSERS {ANYTHING OF THE LIKES}

ALL DEFENDANT’ THAT HAVE ENGAGED IN THE TERRORISTIC CRIMNAL ACTIVITY UPON AMERICANS,
SHOULD BE BANISHED FROM ALL POLITICS, NON PARDONABLE..

PLAINTIFF WISHES TO RESERVE THE RIGHT TO,
Mi CONSTITUTION ARTICLE 1 SECTION 24 - RIGHTS OF CRIME VICTIMS

 

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VIL

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, J certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. J understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 08/26/2021

Digitalty signed by Kevin Cassaday
Location: 1804 GUENTHER AVE; LANSING, MI 48917

Date: 2021.08.26 22:13:28 -04'00"

 

Signature of Plaintiff

 

Printed Name of Plaintiff KEVIN CASSADAY

 

B. For Attorneys

Date of signing:

 

Signature of Attorney

 

Printed Name of Attorney
Bar Number

 

 

Name of Law Firm

Address

 

 

 

City State Zip Code

Telephone Number
E-mail Address

 

 

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